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                             Exhibit A
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                                                              BOOK1 369pacE 75 Exhibit
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                                    129560


                                    QUITCLAIM DEED


         LESLIE S. CAREY, as she is Trustee of NORTHSIDE REALTY TRUST under
         Declaration of Trust dated January 14, 1994 duly recorded with the
         Worcester District Registry of Deeds on January 14, 1994 in Book
         15975, Page 213 having an address c/o New England Management and
         Realty Corporation, 55 New York Avenue, Framingham, Massachusetts
         01701
                                                                                    -J
         for consideration paid and in consideration of Nine Million and One        C3
         Hundred Fifty One Thousand Four Hundred and Forty Nine Dollars and
         00/100 ($9,151,449.00)

         grants to WESTBOROUGH SPE LLC, a Delaware Limited Liability Company
         with a principal place of business at c/o Babcock & Brown
         Administrative Services, Inc., Two Harrison Street, San Francisco,
         CA 94105
   CO
         with Quitclaim Covenants, the following described property:

         that certain parcel of land, together with any buildings and
         improvements thereon, located at 231 Turnpike Road, in the Town of
  k1.1
         Westborough, Worcester County, Massachusetts, which are shown as
         Lot #1 on a plan entitled "Plan of Land in Westborough, Worcester
         County,...", dated April 11, 1997, prepared by Beals and Thomas,
         Inc. recorded with the Worcester District Registry of Deeds, Plan
         Book 714, Plan 77 and being more particularly bounded and described
         according to said plan on Exhibit A attached hereto and made a part
         hereof.

         Said Lot 1 contains 1,277,351 square feet more or less, or 29.324
         acres, more or less, according to said plan.

         Said Premises are conveyed subject to and together with the benefit
         of easements, restrictions and other matters of record, insofar as
         in force and applicable.

         Without limitation, said premises are conveyed together with the
         following:

         (i) rights and easements set forth in that certain Declaration of
         Reciprocal Covenants, Easements and Restriction dated April 9, 1997
         and recorded with said Deeds in Book 18745, Page 313 as being
         for the benefit of said Lot 1 and subject to the rights, easements
         and restrictions set forth therein as the same affect Lot 1, which
         are reserved for the benefit of Lots 2 and 3 as shown on said Plan,
         and (ii) Utility Easement "A", Utility Easement "B" and Utility
         Easement "D" all as shown on Plan Book 710, Plan 91.


          GOULD & ETTENBERG, P.C.
          370 Main Street
          Worcester, MA 01608
          Tel: (508) 752-6733                          6.0140)077 I fieSTRAICT Co
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         Said Premises are conveyed subject to real estate taxes due the
         Town of Westborough for the 1998 tax fiscal year, which the Grantee
         hereof assumes and agrees to pay by the acceptance and recording of
         this deed.

         The undersigned hereby certify that (i) Northside Realty Trust is
         in full force and effect and has not been amended, rescinded or
         terminated, (ii) that the undersigned is a trustee of the trust and
         (iii) that the undersigned has been directed by all of the
         beneficiaries of said trust to execute, seal, acknowledge and
         deliver this deed.

        Grantor intends to convey and does hereby convey a portion of the
        premises conveyed to Grantor by Deed of Stanley Miller, Trustee
        dated April 13, 1994 recorded with the Worcester District Registry
        of Deeds Book 16210, Page 372.


             EXECUTED as a sealed instrument the 31st day of October, 1997.



                                               Leslie S. arey, Tru ee of
                                               Northside Realty Trust,
                                               and not individually

                               THE COMMONWEALTH OF MASSACHUSETTS
          S-44,/lf
         mi-eitikerex, ss.                                 October 31, 1997


           Then personally appeared before me the above named Leslie S.
         Carey as she is Trustee of Northside Realty Trust and acknowledged
         the foregoing instrument to be his free act and deed, before me,




                                                                   -NotaryP lic,
                                                 My Commission Expires: 5 -
                              DEEDS REG 20       koocrk   MisKie 0/CZ       /?/200O
                               WORCESTER

                             11/21/97



                         TAX      41730.84
                         CASH     41730.84

                             5032A140 14:02
                               EXCISE TAX
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                                             EXHIBIT A

                                    METES AND BOUNDS DESCRIPTION

                                                    Lot 1
                                          Westborough, Massachusetts
                                                  W-45.30

        A certain parcel of land in the Commonwealth of Massachusetts, County of Worcester, Town of
        Westborough situated on the northerly side of Boston Worcester Turnpike, Route 9, and shown
        as Lot 1 on a plan entitled "Plan of Land in Westborough, Worcester County, ...", dated April 11,
        1997, prepared by Beals and Thomas, Inc. More particularly bounded and described as follows:

        Beginning at a point in the east bank of the Assabet River at Boston Worcester Turnpike, thence
        running;

        N 30 58 22 W 1123.34 feet to a point, said course being by land now or formerly of Brown
                     Realty Trust, thence turning and running;

        N 86 07 42 E 1022.91 feet to a point, thence turning and running;

        N 03 52 18 W 501.72 feet to a point, thence turning and running;

        N 86 07 42 E 627.83 feet to a point, thence turning and running;

        N 58 30 39 E 523.55 feet to a point, said four courses being by land now or formerly of P.V.
                     Davis Construction Company, Inc., thence turning and running;

        S18 32 25 E 9.51 feet to a Worcester County Highway bound, thence turning and running;

        S 17 00 25 E 69.96 feet to a point, thence turning and running;

        S 15 35 25 E 79.20 feet to a Worcester County Highway bound, thence turning and running;

        S 11 50 25 E 63.36 feet to a point, thence turning and running;

        S 09 15 25 E 67.32 feet to a Worcester County Highway bound point, thence turning and
                     running;

        S 06 35 25 E 66.00 feet to a point, thence turning and running;

        S 06 25 25 E 74.57 feet to a Worcester County Highway bound, thence turning and running;

        S 05 48 30 E 73.06 feet to a Worcester County Highway bound, thence turning and running;

       S 04 09 29 E 190.38 feet to a point, thence turning and running;




       BEALS AND THOMAS, INC.
   . .booK19369pact
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        Metes and Bounds Description
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        Lot 1
        Westborough, Massachusetts
        W-45.30
        Page 2 of 2


        Southerly        by a curve to the right having a radius of 1000.00 feet and a length of 215.67 feet
                         to a point, said last 10 courses being by the westerly line of Milk Street, thence
                         turning and running;

        S 52 34 33 W 376.10 feet to a point, thence turning and running;

        S 86 07 42 W 209 07 feet to a point, thence turning and running;

        N 49 56 56 W 33.00 feet to a point, thence turning and running;

        Northwesterly by a curve to the left having a radius of 335.00 feet and a length of 76.89 feet to a
                      point, thence turning and running;

        S 86 07 42 W 213.61 feet to a point, thence turning and running;

        N 03 47 36 W 319.22 feet to a point, thence turning and running;

        S 86 07 42 W 337.66 feet to a point, thence turning and running;

        S 03 52 18 E 112.44 feet to a point, thence turning and running;

        S 86 07 42 W 437.86 feet to a point, said last nine courses being by Lot 2, thence turning and
                     running;

        S 03 52 18 E 925.00 feet to a point, said course being in part by Lot 2 and in part by land now
                     or formerly of Lillian E. Brown Life Estate, thence turning and running;

        S 86 07 42 W 148.31 feet to the point of beginning, said course being by the northerly line of
                     Boston Worcester Turnpike.

                        Containing 1,277,351 square feet more or less, or 29.324 acres, more or less.

                         Subject to any and all existing rights and easements of record.

        RJB/vmb/004530MB007


       The plan referenced herein is recorded herewith as Plan Book 714 Plan 77 .




        BEALS AND THOMAS, INC.
                                                   ATTEST: WORC. Anthony J. Vighotti, Register
